                   Case: 25-1562
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                                            APPEALS  1   Date
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                                                              THIRD 04/16/2025
                                                                      CIRCUIT

                                                No. 25-1562

                       Atlas Data Privacy Corp., et als.   vs. Digital Safety Products, LLC

                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Digital Safety Products, LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)             ✔ Appellant(s)
                                       ____                             ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) Counsel’s Name Eric H. Lubin, Esq.
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                                    ✔ Mr.
                                   ____        ____ Ms.   ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Eric H. Lubin

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REV. 10/20/2020
